                Case 18-50831-KJC           Doc 4-2      Filed 10/17/18      Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                          Chapter 11
In re:
TINTRI,INC.,1                                             Case No. 18-11625(KJC)
                    Debtor.

TINTRI,INC.,
                    Plaintiff,
vs.                                                       Adversary No. 18-50831 (KJC)


ABACUS SOLUTIONS,LLC AND
NEVERFAIL,INC.,
                     Defendants.


                                   CERTIFICATE OF SERVICE

         I, Colin R. Robinson, hereby certify that on the 17th of October, 2018, I caused a copy of

the following documents) to be served on the individuals on the attached service lists) in the

manner indicated:


         CERTIFICATION OF COUNSEL REGARDING STIPULATION AND
         PROPOSED ORDER EXTENDING TIME FOR FILING AN ANSWER OR
         RESPONSE TO COMPLAINT



                                                   /s/ Colin R. Robinson
                                                    Colin R. Robinson(DE Bar No. 5524)




'  The last four digits of the Debtor's federal taxpayer identification number are 6978. The Debtor's service
   address is: 303 Ravendale Drive, Mountain View, CA 94043.
DOGS DE221567.1 83990/002
              Case 18-50831-KJC       Doc 4-2   Filed 10/17/18   Page 2 of 2




Tintri -Service List re Abacus/Neverfail
Main Case No. 18-11625(KJC)
Adv. Case No. 18-50831
Doc. No. 221567

Email: olivere@chipmanbrown.com
(Counsel for Abacus Solutions and
Neverfail, Inc.)
Mark D. Olivere
Chipman Brown Cicero &Cole,LLP
Hercules Building
1313 N. Market Street, Suite 5400
`vUiimingion, i~E i y~~ i




                                            9
DOCS DE:221567.1 83990/002
